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                                                                                            United States Bankruptcy Court
                                                                                                Southern District of Texas

                                                                                                   ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT                                        May 20, 2024
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                      Nathan Ochsner, Clerk
                                 VICTORIA DIVISION

In re:                                           §
                                                 §
Anchor Development Group LLC                     §         Case No. 22-60051
                                                 §
         Debtor                                  §                 Chapter 7

                AGREED ORDER GRANTING AMENDED MOTION FOR
              RELIEF FROM AUTOMATIC STAY AS TO REAL PROPERTY
               LOCATED AT 123 S. 75TH STREET, HOUSTON, TEXAS 77011

         CAME ON FOR CONSIDERATION, the Amended Motion for Relief from Automatic

Stay as to Real Property (the “Motion”) filed by Panacea Fund I, LLC (“Movant”). This Court,

having considered the Motion [Docket No. 80]; being advised that the objection to the Motion has

been resolved by agreement as indicated by the signatures of counsel below, having determined

that proper notice had been given to all parties of interest; and having determined that it has

jurisdiction over the parties and the Motion; the Court is of the opinion that cause exists for

terminating the automatic stay as requested in the Motion, and that the Motion is well taken and

should be GRANTED. It is therefore,

         ORDERED, that the automatic stay is hereby terminated as to the Property (defined below)

and the Debtor to permit Panacea Fund I, LLC and all other parties required to be joined to a tax

suit under Chapter 33 to exercise all rights and remedies with respect to the real property and improvements

located at 123 S. 75th Street, Houston, Texas 77011 (but in rem only with respect to the Debtor or its estate)

legally described as follows:




(the “Property”). It is further,
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        ORDERED, that all parties reserve the right to challenge the priority of liens asserted by Movant (or any

other party), the amounts owed to Movant (or any other party) or any other right, claim or defense applicable to

any claim or lien asserted against the Property. It is further,

        ORDERED, that the requirements of Bankruptcy Rule 4001(a)(3) are hereby waived.

DATED:
         August
         May     02, 2019
             20, 2024

                                                     JUDGE PRESIDING



AGREED AS TO FORM AND CONTENT:

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 ATTORNEYS FOR TEXAS
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